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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

        FREEDOM PATH, INC.,                       )
                                                  )
                                                  )
              Plaintiff,                          )
                                                  )
              v.                                  )                 No. 1:20-cv-01349 (JMC)
                                                  )
        INTERNAL REVENUE SERVICE, et al.          )
                                                  )
              Defendants.                         )
        _________________________________________ )

                        NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiff Freedom Path, Inc., submits this Notice of Supplemental Authority in support of

its pending Motion for Summary Judgment (ECF 30) and Opposition to Defendants’ Cross-Motion

for Summary Judgment (ECF 33).

        Last week, the United States Supreme Court decided Federal Election Commission v. Cruz,

in which the Court reiterated that regulation of political speech may not “burden[] core speech” or

otherwise penalize the exercise of speech such that government regulation “reduc[es] the amount

of political speech.” No. 21-12, 2022 WL 1528348, at *7 (U.S. May 16, 2022), attached as Exhibit

A.

        Specifically, the Court in Cruz invalidated statutory and regulatory limitations on whether

and how federal political candidates may be repaid for loans they make to their campaigns. Id. at

*3, *12. The Court concluded that limitations on loan repayment raised the risk that candidates

would not have their loans repaid at all—which made candidates less likely to loan “money to their

campaigns in the first place, burdening core speech.” Id. at *7. And this burden on core political

speech failed to further any legitimate interest. Id. at *8.




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       Here, the IRS’s 11-part “Facts and Circumstances” test for determining whether speech

constitutes “political campaign intervention” burdens core political speech in similar ways.

       First, the IRS’s purported “test” chills the speech of all current and prospective 26 U.S.C.

§ 501(c)(4) “public welfare organizations” because it blankets all their communications with

uncertainty about whether their speech will be deemed “political campaign intervention.” E.g.,

ECF 30-1 at 25-32.

       Second, whether an organization qualifies for § 501(c)(4) status affects whether the

organization must disclose its donors to the public. ECF 34 at 19-22. Because these disclosure

requirements similarly chill speech, any uncertainty about whether donations to an organization

must be disclosed will chill donations to those organizations—limiting both the organization’s and

the donor’s speech.

       Plaintiff respectfully requests this Court grant Plaintiff’s Motion for Summary Judgment,

declaring that the 11-part “Facts and Circumstances” test is unconstitutionally vague and that

Freedom Path is entitled to 26 U.S.C. § 501(c)(4) status.



Dated: May 24, 2022                              Respectfully submitted,

                                                 s/ Scott A. Keller
Chris K. Gober                                   Scott A. Keller
D.C. Bar No. 975981                              D.C. Bar No. 1632053
The Gober Group PLLC                             Jeremy Evan Maltz
14425 Falcon Head Blvd. E-100                    D.C. Bar No. 155451
Austin, TX 78738                                 Lehotsky Keller LLP
(512) 354-1783                                   200 Massachusetts Ave. NW
cg@gobergroup.com                                Washington, DC 20001
                                                 (512) 693-8350
                                                 scott@lehotskykeller.com


                            Counsel for Plaintiff Freedom Path, Inc.




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